Case No. 1:08-cv-01737-DME-CBS Document 1-2 filed 08/14/08 USDC Colorado pg1of1

Court Names U.S. District Court, Colorad
a

Division: 1

Receipt Numbers COX@i2218

Cashier ID: sq

Transaction Date: 65/14/20B8
Payer Nage: DAVID LARSON

CIVIL FILING FEE
For: DAVID LARSON
Amount: $358, 68

CREDIT CARD
Ast Tendered: $350.00

Total Due: $358, BB
Total Tendered: $356.88
Change Ant: $i, G8

Ba-£0-1737

A fee of $45.80 will be assessed on
any returned check.

